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                            UNITED STATES DISTRICT COURT

                                DISTRICT OF MINNESOTA

IN RE PORK ANTITRUST LITIGATION                Case No. 0:18-cv-01776-JRT-JFD



This Document Relates To:

ALL COMMERCIAL AND
INSTITUTIONAL INDIRECT
PURCHASER PLAINTIFF ACTIONS




                  [PROPOSED ORDER] GRANTING MOTION FOR
             APPOINTMENT OF SUBSTITUTE CO-LEAD CLASS COUNSEL

       Having considered the Commercial and Institutional Indirect Purchaser Plaintiffs’ Motion for

Appointment of Substitute Co-Lead Class Counsel, and for good cause shown, the Motion is hereby

GRANTED.

       Michael J. Flannery of Cuneo Gilbert & LaDuca, LLP is HEREBY substituted and appointed

as Co-Lead Counsel in place of Blaine Finley, who has withdrawn. Mr. Flannery shall have the same

duties and responsibilities as delineated in this Court’s Order appointing Interim Co-Lead Class

Counsel for CIIPPs (See Dkt. 150).



Dated: _________________                          IT IS SO ORDERED.

                                                  __________________________
                                                  John R. Tunheim
                                                  United States Judge
